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HIGH SECURITY CENTER

 

 

 

 

 

RESIDENTIAL TREATMENT UNIT (RTU)
INMATE ORIENTATION MANUAL 2018

 

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The following manual is intended as a guideline and is not all encompassing. The rules and information
contained in this manual are subject to change at any time, at the sole discretion of the Department of
Corrections. When such changes occur, inmates will be notified as necessary. Inmates are subject to all
other appropriate Department and facility rules and policies.
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Introduction

The Residential Treatment Unit (RTU) is designed as an alternative to disciplinary confinement for inmates
designated as Seriously and Persistently Mentally Ill (SPMI), and who are deemed clinically appropriate based
on the clinical referral process.

The RTU utilizes an integrated approach that involves the close collaboration of mental health professionals and
security professionals in the development and implementation of a comprehensive treatment plan. The program
consists of four (4) phases. Advancement through the phases is based on the participant’s behavioral stability.

When an inmate is assigned to the RTU, the Warden from the facility, where the inmate was residing will use
discretion to suspend disciplinary sanctions; so that the inmate can fully benefit from the program. If the inmate
is terminated from the program, the Warden has the authority to reinstate the Disciplinary Confinement Unit
(DCU) time.

Mission of the RTU

The mission of the RTU is to provide inmates with programming, treatment and structure as an alternative to
placement in a Disciplinary Confinement Unit or an Administrative Confinement Unit, or when deemed
clinically appropriate. The goal of the placement in the RTU is to assist inmates to achieve their highest level of
functioning by developing alternative coping skills that result in behavioral stability sufficient to return to
general population.

Orientation Process

Upon entering the RTU, each inmate will be required to sign an Admission Agreement acknowledging
enrollment in the program. Inmates will be issued a copy of the RTU Inmate Orientation Manual and be
required to sign a receipt.

Inmates are responsible for the retention and maintenance of the manual and will only be re-issued one (1) when
a revision/update is made to the document. In addition, a copy of the manual will be available in the D control
center.

Each inmate will meet with the treatment team, which consists of both security and clinical staff, to review the
RTU Inmate Orientation Manual. At that time, the day-to-day operations of the program, treatment
opportunities and treatment expectations will be explained.

Out-of-Cell Time

As a general rule, all RTU participants will be scheduled for 10 (ten) hours of out-of-cell structured
programming each week and 10 (ten) hours of unstructured time.

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° Structured programming will include mental health programming, one-on-one sessions, activity
groups and other programming led by a staff member.

e Unstructured time will include recreation, maintaining a job, visits, and other activities.

Phase System

The RTU is designed to assist inmates with achieving their highest level of functioning through the use of an
incentive-based system. The Phase System is the basis for this program. When an inmate is admitted into the
RTU, the treatment team will determine the phase that is most appropriate for the inmate’s clinical presentation
and recent behavior. The treatment team will develop individualized time frames to allow the inmate to progress
through all phases when clinically indicated.

Advancement from one phase to the next is determined by clearly defined time frames, as detailed below.

iM Phase 1: Two Weeks
Phase 1 provides an initial clinical assessment, an introduction to the Phase and Incentive Systems and
an orientation to the RTU. During this time, the inmate works with staff to develop a Treatment Plan
that identifies behavioral and clinical treatment needs, as well as goals.

Inmates will be placed in Phase 1 of the program for following reasons:

° The inmate is transferred to the RTU directly from disciplinary confinement. (Regardless
of when the disciplinary time expires, the inmate will spend two weeks in Phase 1.)

° The inmate had been placed on Accountability Status while in another phase.

Phase 1 Privileges and Restrictions:

° Reading Material (leisure and homework) available in cell
° Radio/MP4 Player in-cell only

° One (1) Ten (10) minute phone call per week

° One (1) no-contact visit per week

® One (1) out-of-cell movie per week offered in dayroom
° Store orders up to $35.00 per week

° Escorted in restraints to and from all activities

After two (2) consecutive weeks in Phase 1, without problematic behavior, the inmate will transition to
Phase 2.

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25 Phase 2: Four Weeks

Phase 2 Privileges and Restrictions:

Reading material (leisure and homework) available in cell

Radio/MP4 player in-cell only

Two (2) Ten (10) minute phone calls per week

Television in-cell when not in programming ONLY IF IN PROPERTY
One (1) non-contact visit per week

Additional weekend non-contact visit

Escorted in restraints to and from all activities

Inmate is eligible for a job

Inmate is eligible to wear outdoor recreation attire for recreation
Inmate may purchase store orders up to $35.00 per week

After four (4) consecutive weeks in Phase 2, without problematic behavior, the inmate will transition to

Phase 3.

3. Phase 3: 6 weeks

Retention in phase 3 is contingent upon 80% weekly group attendance in programming (not including
excused absences). Inmates who do not maintain at least 80% attendance will receive a reduction in
phase placement and will return to Phase 2.

Phase 3 Privileges and Restrictions:

Reading material (leisure and homework) available in cell

Radio/MP4 player allowed in outdoor recreation

Television in-cell when not in programming

*Inmate has the opportunity to earn a program TV, provide by RTU
(Two) 2 15 (Fifteen) minute phone calls per week

Inmate is eligible for a job

Inmate is eligible to wear outdoor recreation attire for outdoor recreation
IM is allowed radio/MP player outside on recreation

(1) non-contact visit per week

Additional weekend non-contact visit

Restraints (leg irons and hand cuffs). Inmates may have a reduction in restraints (removal
of leg irons or hand cuffs) to be determined by the treatment team. The treatment team

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recreation and showers; however, inmates are usually restrained for regular movement
within the unit.

© Inmate may purchase store orders up to $45.00 per week

After two (2) consecutive months in Phase 3, without problematic behavior, the inmate will transition to
Phase 4.

4, Phase 4: 8 weeks

Retention in Phase 4 is contingent on 80% group attendance in programming (not including excused
absences). Inmates who do not maintain at least 80% attendance will receive a reduction in phase
placement and will return to Phase 3.

Phase 4 Privileges and Restrictions:

e Reading material (leisure and homework) available in cell
° Radio/MP4 player allowed in outside recreation

® Two (2) Twenty (20) minute phone calls per week

8 Inmate is eligible for a job

° Television in-cell when not in programming

® Inmate is allowed radio/MP4 player outside on recreation
° Inmate may purchase store orders up to $45.00/week

® Inmate is allowed (1) non-contact visit per week

° Inmate will eligible to possess a Tablet issued by the RTU (The tablet is property of the
RTU)

° Restraints (leg irons and hand cuffs). Inmates may have a reduction in restraints (removal
of leg irons and/or hand cuffs) to be determined by the treatment team. The treatment
team may approve inmates to move unrestrained to and from groups, recreation, showers
and other activities as deemed appropriate; however, inmates are generally restrained for
regular movement within the unit.

At the end of Phase 4, after the inmate has efficiently completed all of the 4 phases, the inmate is
awarded the opportunity to successfully complete the program and will be awarded 30 days of
good time. Lastly, in order for an inmate to complete the program, he must demonstrate:

° The ability and willingness to abide by and comply with prison rules and regulations

° The ability to demonstrate stable behavior and respect for others

e The ability to complete all assigned tasks within designated time frame

° The ability to demonstrate an understanding of his condition and to exercise self-control

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5. Transition Phase:

The Transition Phase serves as an option for the inmate upon program completion. The purpose of the
Transition Phase is to provide the inmate an extension of his time to remain on the unit and participate in
programming. The decision for an inmate to remain in the transition and the time frame will be
considered on a case by case basis. Examples of an inmate to remain in Transition Phase include, an
inmate waiting to see the parole board, or classification board. The Transition Phase may also be utilized
if removing the inmate from the unit will be detrimental to his mental health status.

*Retention in the Transition Phase is contingent on attendance at, and participation in, 80% of offered
structured out-of-cell programming each week (not including excused absences). Inmates who do not
maintain 80% attendance (and participation) will receive a reduction in phase placement and will return
to Phase 3.

Transition Phase Privileges and Restrictions:

 

© Reading material (leisure and homework) available in-cell.

© Radio/MP4 allowed in outdoor recreation

e Two (2) Twenty (20) minute phone calls per week.

® Television in-cell when not in programming

6 One (1) non-contact visit per week

® Restraints (leg irons and hand cuffs). Inmates may have a reduction in restraints (removal

of leg irons and/or hand cuffs) to be determined by the treatment team. The treatment
team may approve inmates to move unrestrained to and from groups, recreation, showers
and other activities as deemed appropriate; however, inmates are generally restrained for
regular movement within the unit.

 

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Incentive Program

In addition to the phase system described above, an incentive system will provide individualized incentives to
each program participant. Incentives are a proven method for increasing pro-social behavior and reducing
problematic behaviors. Within the incentive program design are also life skill opportunities such as basic math,
reading, learning to save and plan, and enabling positive social communication.

The incentive program provides RTU inmates the opportunity to earn points that may be redeemed for items
and activities on a regularly scheduled basis, as follows:

Daily Incentive Points: An inmate may earn up to seven (7) daily incentive points per week.

The award of incentive points is based upon the inmate’s daily performance. An inmate who
follows the institutional rules and regulations as evidenced by not receiving a discipline report
will earn one (1) incentive point for the day.

Structured Activity/Treatment Points: Structured activity or treatment points are earned based
on attendance, without disruptive outbursts, at all out-of-cell structured activities. An inmate may
earn one (1) point for each hour he attends scheduled programming, which includes both groups
and individual programming, with no disruptive behavior. Treatment is offered Monday through
Friday. An inmate who does not have an excused absence, who asks to leave group early or is
escorted out of the group due to disruptive behavior, shall not earn a treatment point.

Unstructured Activity Points: Unstructured activity points are earned based on attendance,
without disruptive outbursts, during out-of-cell unstructured activities. An inmate may earn a
maximum of ten (10) points each week, providing that he attends scheduled out-of-cell
unstructured activity, with no disruptive behavior. An inmate, who asks to leave out-of-cell
unstructured activity/job before it has ended or is escorted out of the activity/job due to
disruptive behavior, shall not earn the points.

Each week, the inmate’s total points are tallied on the Incentive Program Order Form.

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The inmate is informed both verbally and in writing of all points earned, and the number of
points that the inmate could have earned but failed to due to lack of attendance or behavioral
outbursts.

The inmate may then “order” items using his points. Inmates will receive an Incentive Program
Order Form from RTU staff as appropriate.

a. Items are given point values ranging from zero (0) points to 40 (forty) points.
b. Unused points may be carried over from week to week.

c. Inmates may not spend more than forty (40) points in a given week.

The following is an example of incentive points that can be earned each week:

One (1) point for each hour of attendance in structured programming, without disruption.
Ten (10) points attendance in unstructured programming, without disruption.
One (1) point for each day without receiving any disciplinary reports.

Ten (10) bonus points for participating in ten (10) hours of structured activity; scheduled one-on-
one session with the assigned mental health professional.

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Structured Programming

The following is an overview of structured out-of-cell programming and activities offered in the RTU ona
rotating basis:

The fundamental programming is provided by the contractor, The Providence Center, utilizing the
“Start Now” curriculum. “Start Now” is a an Evidence based curriculum developed by the
University of Connecticut, in response to a study completed by National Institute of Justice. Start
Now model is based on a combination of therapeutic approaches, including; Cognitive-Behavioral
Therapy, Dialectical Behavior Therapy, and Motivational Interviewing. The curriculum aims to treat
offenders, who suffer from significant mental health and behavioral issues, by helping them
understand the connection between thoughts, emotions, and behaviors, and also reinforcing
responsibility for behaviors.”

Psychoeducational Groups

Activity Groups

Substance Abuse and Relapse Prevention

Book Discussion/Movie Group

Special Topic Groups (including, but not limited to, communication skills, pro-social advocacy,
how to cope with a cell-mate and how to cope in the dining room)

Art Groups

Life Skills Groups

Core Skills (including, but not limited to, brainstorming, assertion, calming, danger spotting,
focusing, self-listening)

Motivational Enhancement (including, but not limited to, motivation and ambivalence, internal
control, learned behavior sequence, problem identification)

Individual Treatment
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Accountability Status

Placement on Accountability Status is a clinical determination made by the RTU Administrator or RTU Unit
Manager

Placement on Accountability Status is based on the following:

6 Documentation of problematic behavior including incident reports, disciplinary reports,
treatment notes or group notes. Any disciplinary report will result in immediate placement on
Accountability Status.

° An inmate on Accountability Status is not allowed to attend group programming. The RTU

Administrator or RTU Unit Manager will review the clinical status of each inmate on
Accountability Status to determine when the inmate is clinically appropriate to transition from
Accountability Status to Phase 1. Placement on accountability status is generally 48 hours
minimum.

° An inmate on Accountability Status may earn up to (1) daily incentive point for not engaging in
disruptive behavior (not receiving disciplinary report). An inmate who is placed on
Accountability Status is not allowed to spend points until the next week when incentive points
are calculated. When an inmate transitions from the Accountability Phase to Phase 1, the inmate
will begin the phase system again and earn incentives as outlined in the Phase System.

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Discharge from the RTU

An inmate may be eligible to discharge from the unit once the inmate has demonstrated sufficient skills, the
ability to act in a pro-social manner, and is compliant with his prescribed mental health medication. It is the
expectation that inmates discharge from the RTU after he successfully progresses through the Phase System.

Termination from the RTU

An inmate may be considered for termination from the RTU prior to completion of the program if;

6 the inmate engages in assaultive behavior, or
° presents severe behavioral problems without demonstration of any effort to change, and
° it is the consensus of the RTU treatment team that the behavior has not improved and shows no

indication of future change.

Termination shall not be considered without evidence and documentation of consistent refusal to engage in
programs, or chronic disruptive behavior that compromises the integrity of the program.

Reconsideration to re-enter the unit will be determined on a case-by-case basis.

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